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 5

 6                                  UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                            )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10          v.                                          ) 2:14-CR-249-APG-(PAL)
                                                        )
11 DARREN WAI KIT PHUA,                                 )
   SENG CHEN YONG,                                      )
12 HUI TANG,                                            )
   YAN ZHANG,                                           )
13 YUNG KEUNG FAN,                                      )
   HERMAN CHUN SANG YEUNG,                              )
14                                                      )
                   Defendants.                          )
15

16                             AMENDED FINAL ORDER OF FORFEITURE
17           The United States District Court for the District of Nevada entered a Preliminary Order of

18 Forfeiture as to YAN ZHANG pursuant to Title 18, United States Code, Section 981(a)(1)(C) with

19 Title 28, United States Code, Section 2461(c) and Title 21, United States Code, Section 853(p) based

20 upon the plea of guilty by defendant YAN ZHANG to the criminal offense, substituting and forfeiting

21 the property set forth in the Plea Agreement to fulfill the forfeiture judgment set forth in the Forfeiture

22 Allegation of the Superseding Criminal Information. Superseding Criminal Information, ECF No. 325;

23 Plea Agreement, ECF No. 329; Preliminary Order of Forfeiture, ECF No. 332; Change of Plea and

24 Sentencing Minutes, ECF No. 346.

25           The United States District Court for the District of Nevada entered a Preliminary Order of

26 Forfeiture as to YUNG KEUNG FAN pursuant to Title 18, United States Code, Section 981(a)(1)(C)
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 1 with Title 28, United States Code, Section 2461(c) and Title 21, United States Code, Section 853(p)

 2 based upon the plea of guilty by defendant YUNG KEUNG FAN to the criminal offense, substituting

 3 and forfeiting the property set forth in the Plea Agreement to fulfill the forfeiture judgment set forth in

 4 the Forfeiture Allegation of the Superseding Criminal Information. Superseding Criminal Information,

 5 ECF No. 325; Plea Agreement, ECF No. 330; Preliminary Order of Forfeiture, ECF No. 333; Change

 6 of Plea and Sentencing Minutes, ECF No. 347.

 7           The United States District Court for the District of Nevada entered a Preliminary Order of

 8 Forfeiture as to HERMAN CHUN SANG YEUNG pursuant to Title 18, United States Code, Section

 9 981(a)(1)(C) with Title 28, United States Code, Section 2461(c) and Title 21, United States Code,

10 Section 853(p) based upon the plea of guilty by defendant HERMAN CHUN SANG YEUNG to the

11 criminal offense, substituting and forfeiting the property set forth in the Plea Agreement to fulfill the

12 forfeiture judgment set forth in the Forfeiture Allegation of the Superseding Criminal Information.

13 Superseding Criminal Information, ECF No. 325; Plea Agreement, ECF No. 331; Preliminary Order of

14 Forfeiture, ECF No. 334; Change of Plea and Sentencing Minutes, ECF No. 348.

15           The United States District Court for the District of Nevada entered a Preliminary Order of

16 Forfeiture as to SENG CHEN YONG pursuant to Title 18, United States Code, Section 981(a)(1)(C)

17 with Title 28, United States Code, Section 2461(c) and Title 21, United States Code, Section 853(p)

18 based upon the plea of guilty by defendant SENG CHEN YONG to the criminal offense, substituting

19 and forfeiting the property set forth in the Plea Agreement to fulfill the forfeiture judgment set forth in

20 the Forfeiture Allegation of the Superseding Criminal Information. Superseding Criminal Information,

21 ECF No. 325; Plea Agreement, ECF No. 340; Preliminary Order of Forfeiture, ECF No. 341; Change

22 of Plea and Sentencing Minutes, ECF No. 350.

23           The United States District Court for the District of Nevada entered a Preliminary Order of

24 Forfeiture as to HUI TANG pursuant to Fed. R. Crim. P. 32.2(e); Title 18, United States Code, Section

25 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States Code,

26 Section 853(p) based upon the plea of guilty by defendant HUI TANG to the criminal offense,

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 1 substituting and forfeiting the property set forth in the Plea Agreement and the Bill of Particulars to

 2 fulfill the forfeiture judgment set forth in the Forfeiture Allegations of the Criminal Indictment.

 3 Criminal Indictment, ECF No. 86; Bill of Particulars, ECF No. 313; Plea Agreement, ECF No. 342;

 4 Preliminary Order of Forfeiture, ECF No. 343; Change of Plea and Sentencing Minutes, ECF No. 349.

 5            The United States District Court for the District of Nevada granted the United States’ Motion

 6 to Substitute and to Forfeit Property of Seng Chen Yong, Hui Tang, Yan Zhang, Herman Chun Sang

 7 Yeung, and Yung Keung Fan (ECF No. 318) and entered a Substitution and Forfeiture Order pursuant

 8 to Title 21, United States Code, Section 853(p). Substitution and Forfeiture Order, ECF No. 337.

 9            The United States District Court for the District of Nevada entered a Preliminary Order of

10 Forfeiture as to DARREN WAI KIT PHUA pursuant to Title 18, United States Code, Section

11 981(a)(1)(C) with Title 28, United States Code, Section 2461(c) and Title 21, United States Code,

12 Section 853(p) based upon the plea of guilty by defendant DARREN WAI KIT PHUA to the criminal

13 offense, substituting and forfeiting the property set forth in the Plea Agreement and the Bill of

14 Particulars to fulfill the forfeiture judgment set forth in the Forfeiture Allegation of the Superseding

15 Criminal Information. Bill of Particulars, ECF No. 313; Minutes of Plea and Sentencing, ECF No.

16 443; Superseding Criminal Information, ECF No. 445; Plea Agreement, ECF No. 447; Preliminary

17 Order of Forfeiture, ECF No. 449.

18            The United States District Court for the District of Nevada granted the United States’ Motion

19 to Substitute and to Forfeit Property of Darren Wai Kit Phua (ECF No. 434) and entered a Substitution

20 and Forfeiture Order pursuant to Title 21, United States Code, Section 853(p). Substitution and

21 Forfeiture Order, ECF No. 448.

22            This Court finds the United States of America published the notice of forfeiture in accordance

23 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

24 from December 14, 2014, through January 12, 2015, as to Seng Chen Yong, Hui Tang, Yan Zhang,

25 Yung Keung Fan, and Herman Chun Sang Yeung, and from March 14, 2015, through April 12, 2015,

26 / / /

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 1 as to Darren Wai Kit Phua, notifying all potential third parties of their right to petition the Court.

 2 Notices of Filing Proof of Publication, ECF Nos. 399 – 401, 473.

 3           The Final Order of Forfeiture was entered as to Seng Chen Yong, Hui Tang, Yan Zhang,

 4 Yung Keung Fan, and Herman Chun Sang Yeung (ECF No. 471). The Final Order of Forfeiture was

 5 entered as to Darren Wai Kit Phua (ECF No. 510).

 6           The United States filed a proposed Settlement Agreement for Entry of Order of Forfeiture as

 7 to Wei Seng Phua (ECF No. 523). The court granted the Settlement Agreement (ECF No. 524).

 8 Pursuant to the Settlement Agreement, the following items will be returned to Wei Seng Phua once the

 9 Amended Final Order of Forfeiture has been entered:

10                  a. Item No. 1B2 - Apple MacBook Pro, model A1278, S/N: C02MJBUWFD57;

11                  b. Item No. 1B14 - Apple iPhone 5S, S/N: C39LX066FNNK;

12                  c. Item No. 1B15 - Apple iPhone 5S, S/N: F17MV2S1FNJQ; and

13                  d. Item No. 1B23 - Apple iPhone 5S white, S/N: C39MQ0ZVFNNL.

14           This Court finds no petition was filed herein by or on behalf of any person or entity and the

15 time for filing such petitions and claims has expired.

16           This Court finds no petitions are pending with regard to the assets named herein and the time

17 for presenting such petitions has expired.

18           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

19 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

20 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P. 32.2(e);

21 Fed. R. Crim. P. 32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(C) with Title 28, United

22 States Code, Section 2461(c); Title 21, United States Code, Section 853(p); and Title 21, United States

23 Code, Section 853(n)(7) and shall be disposed of according to law:

24          Hui Tang forfeited $250,000 and other specific assets listed below to satisfy the criminal

25 forfeiture judgment; Sen Chen Yong forfeited $400,000 and other specific assets listed below to

26 satisfy the criminal forfeiture judgment; Yan Zhang forfeited $125,000 and other specific assets listed

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 1 below to satisfy the criminal forfeiture judgment; Herman Chun Sang Yeung forfeited $125,000 and

 2 other specific assets listed below to satisfy the criminal forfeiture judgment; Yung Keung Fan forfeited

 3 $125,000 and other specific assets listed below to satisfy the criminal forfeiture judgment; Darren Wai

 4 Kit Phua forfeited $125,000 and other specific assets listed below the satisfy the criminal forfeiture

 5 judgment, including:

 6                 1. Evidence Report Item No. (“Item No.”) 1B164 - Apple MacBook Pro laptop, model

 7                     A1278 in blue case, S/N: C02H72W8DV14;

 8                 2. Item No. 1B163 - Apple MacBook Pro laptop, model A1278 in black case with a

 9                     spy sticker;

10                 3. Item No. 1B161 - Apple iPad, 24KT gold color, Crown Resorts Melbourne, Perth,

11                     Macau, London with Logitech keyboard;

12                 4. Item No. 1B160 - Black Apple iPad Mini, model A1454 in black and white case;

13                 5. Item No. 1B158 - Apple iPad, model A1474, in red case, S/N: DLXLL11JFK17;

14                 6. Item No. 1B156 - Verizon Samsung Galaxy S4 cell phone marked with G#55;

15                 7. Item No. 1B148 - White Apple iPhone 5 in case;

16                 8. Item No. 1B137 - Sony Xperia cell phone and charger;

17                 9. Item No. 1B129 - Samsung Verizon cell phone;

18                 10. Item No. 1B121 - Blackberry phone, IMEI:353489047599137;

19                 11. Item No. 1B120 - Apple MacBook Air laptop computer, S/N: C02H40VRDJWV

20                     with power cord;

21                 12. Item No. 1B119 - Samsung Galaxy Note 3, S/N: RF8F5084JHH;

22                 13. Item No. 1B118 - Apple iPad, model A1490, S/N: F4KM639NF1MN;

23                 14. Item No. 1B117 - Two (2) AT&T Sim Card packages;

24                 15. Item No. 1B110 - Router, model WBR-6805, S/N: 14012400441 with power cord;

25                 16. Item No. 1B109 - Cooler Master PC, S/N: MIN110KKA2001142100024;

26                 17. Item No. 1B108 - Cooler Master PC, S/N: MIN110KKA2001142100049;

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 1           18. Item No. 1B107 - Cooler Master PC, S/N: MIN110KKA2001142100007;

 2           19. Item No. 1B106 - Samsung Laptop Computer, S/N: JC6291GD2002;

 3           20. Item No. 1B105 - Samsung Galaxy Note 3, S/N: A0000040A34269;

 4           21. Item No. 1B104 - Samsung Verizon cell phone, S/N: A000004813EE84;

 5           22. Item No. 1B103 - Samsung Verizon cell phone, S/N: A000004811F498;

 6           23. Item No. 1B102 - Samsung Galaxy Note 3, S/N: RF8F509SKZV;

 7           24. Item No. 1B101 - Samsung Galaxy Note 3, S/N: R5FF50CXHSN;

 8           25. Item No. 1B100 - Apple iPhone model A1530, IMEI: 358030050972723;

 9           26. Item No. 1B96 - Samsung Galaxy Note 3, model SM-N9005 cell phone, S/N:

10              RF1D80EDWJY;

11           27. Item No. 1B95 - Huawei Mobile WiFi device;

12           28. Item No. 1B93 - Samsung cell phone;

13           29. Item No. 1B92 - Nokia cell phone, black in color;

14           30. Item No. 1B91 - Apple iPhone model A1429, IMEI: 013350007417789;

15           31. Item No. 1B90 - Nokia cell phone, model 6120c;

16           32. Item No. 1B89 - Port WiFi, model E589u-12, S/N: P27NB92B1606782, IMEI:

17              863030010743378;

18           33. Item No. 1B86 - Samsung laptop, S/N: JD3V91GD7002 with power cord;

19           34. Item No. 1B83 - Samsung Galaxy Note 3, S/N: A000004577FCA5 with power

20              cord;

21           35. Item No. 1B82 - Apple MacBook Pro laptop, model A1502, S/N:

22              CO2LKPW6FGYY, with power cord;

23           36. Item No. 1B80 - Apple iPad Mini with pink cover, S/N: F87L6RPKF196 with

24              power cord;

25           37. Item No. 1B79 - Router Model WBR-6805, S/N: 14012400449;

26           38. Item No. 1B78 - Apple iPhone in yellow case;

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 1                 39. Item No. 1B77 - Samsung cell phone, model SM-B311V, S/N: A000004813EFD7;

 2                 40. Item No. 1B75 - Apple iPhone in black and silver case;

 3                 41. Item No. 1B74 - Samsung cell phone, Model SCH-U360;

 4                 42. Item No. 1B73 - Apple iPad Mini with pink case;

 5                 43. Item No. 1B71 - Samsung Galaxy Note 3, model SM-N9005 S/N: RF8F123VM3F;

 6                 44. Item No. 1B70 - Samsung cell phone, model SCH-U365, S/N: A00000458BD09C;

 7                 45. Item No. 1B69 - Huawei MiFi device, white in color;

 8                 46. Item No. 1B68 - Green Samsung, model 67-19505 with Sim Card, S/N:

 9                    RF1D62XYTDD;

10                 47. Item No. 1B67 - White Samsung Galaxy Note 2 LTE GT-N7105, in purple case

11                    with spare micro SD card, S/N: N105GSMH;

12                 48. Item No. 1B64 - Samsung Verizon, model SCH-U365;

13                 49. Item No. 1B63 - Huawei MiFi device;

14                 50. Item No. 1B62 - Lenovo cell T-Mobile, model A859, S/N: HBQZZLRH;

15                 51. Item No. 1B61 - Sony laptop, model SVP132A1CL, S/N: 54602011-0002516,

16                    service Tag: C60C84ER, product name SVP1321DCXS with charger;

17                 52. Item No. 1B59 - Samsung Galaxy Note 3, model SM-N9005, S/N:

18                    RF1DB3FDABJ;

19                 53. Item No. 1B58 - Samsung Galaxy Note, model SM-N900 with power cord, S/N:

20                    RF1DC2M8VFF;

21                 54. Item No. 1B57 - Samsung Note, model SM-N9005, S/N: RF8F5DHC5DK;

22                 55. Item No. 1B56 - Samsung cell, model SCH-U360, S/N: A0000030224937;

23                 56. Item No. 1B48 - One Samsung Black G’z One Verizon cell phone with charger,

24                    S/N: 124350041136;

25                 57. Item No. 1B44 - Apple iPhone 5S, IMEI: 358030052837817 with Kenzo USA case;

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 1           58. Item No. 1B43 - Apple iPhone 5S, IMEI: 358763054971792 with Kenzo eyeball

 2              case;

 3           59. Item No. 1B35 - Apple iPhone 5S, S/N: C39LWHKZFRC7 with Kenzo Paris case;

 4           60. Item No. 1B27. Kindle, black in color;

 5           61. Item No. 1B24 - LG model LG-VN150PP flip phone;

 6           62. Item No. 1B23 - Apple iPhone 5S white, S.N: C39MQ0ZVFNNL;

 7           63. Item No. 1B20 - White iPad Mini;

 8           64. Item No. 1B19 - Samsung phone, model SCH-U365, S/N: FCCIDA3L5CHU365;

 9           65. Item No. 1B17 - Apple iPhone model A1530, IMEI: 358763054266086 with “The

10              Devil” cover;

11           66. Item No. 1B16 - Apple iPhone model A1530, IMEI: 358842050988057;

12           67. Item No. 1B15 - Apple iPhone 5S, S/N: F17MV2S1FNJQ;

13           68. Item No. 1B14 - Apple iPhone 5S, S/N: C39LX066FNNK;

14           69. Item No. 1B13 - Apple iPhone, model A1429, IMEI: 013404004478904;

15           70. Item No. 1B12 - Verizon Samsung flip phone “G#52”;

16           71. Item No. 1B3 - Apple MacBook Pro, model A1278, S/N: C02JHFFLDR54 with

17              power cord;

18           72. Item No. 1B2 - Apple MacBook Pro, model A1278, S/N: C02MJBUWFD57;

19           73. Item No. 1B1 - Razer laptop, S/N: BY1333102400135;

20           74. Item No. 1B245 - Apple iPhone, model A1533, S/N: F2LMT11ZFFFK;

21           75. Item No. 1B238 - Apple iPhone, model A1533, S/N: F17LX4Q2FFFQ;

22           76. Item No. 1B237 Samsung Galaxy Note 3 cell phone, model SM-B311V, MEID:

23              A000004811D4A0;

24           77. Item No. 1B230 - Samsung cell phone, model SCH-U365, MEID:

25              A000003901AA3A;

26           78. Item No. 1B229 - Samsung cell phone, model N9005, SSN: N9005GSMH;

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 1                  79. Item No. 1B225 - Black Apple iPhone, model A1533, IMEI: 013888006419983;

 2                  80. Item No. 1B224 - Black Apple iPhone, model A1533, IMEI: 013846006747662;

 3                  81. Item No. 1B223 - Sim cards inside a folded paper;

 4                  82. Item No. 1B215 - Apple iPhone, model A1533, IMEI: 013885008565615, white in

 5                     color;

 6                  83. Item No. 1B214 - Samsung cell phone, model SPH-M270, HEX:

 7                     A0000047CF59A9.

 8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

 9 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

10 income derived as a result of the United States of America’s management of any property forfeited

11 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

12          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies of

13 this Order to all counsel of record.

14          Dated:
            DATED November
                   this ___ day17, 2015.
                                of ______________, 2015.

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17                                                UNITED
                                                  UN
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                                                      TED STATES DISTRICT JU
                                                                          JUDGE
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